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               EXHIBIT A
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                                       CAROLYN J. LYONS, J.D.
                                                 clyons@middleboro.k12.ma.us
EDUCATION
Suffolk University Law School, Boston, Massachusetts
Juris Doctor, May 2007
Honors:           Dean’s List 2005-2006, 2006-2007
                  Suffolk University Law School Jurisprudence Award in Professional Responsibility, May 2006
                  Recipient of the Bristol County Bar Association Scholarship, April 2006
                  First Year Honorable Mention Oral Advocate Award, April 2005
Smith College, Northampton, Massachusetts
Bachelor of Arts, cum laude, Government and Economics, December 2002
Cumulative GPA: 3.64/4.0
Honors:           First Group Scholars 2001-2002
                  Dean’s List 1999-2002
Leadership:       Judicial Board, Board Member 2000-2002

EDUCATIONAL EXPERIENCE
Middleborough Public Schools                                                                         Middleborough, Massachusetts
Superintendent of Schools                                                                                            July 2022-Present
Attends and presents at bi-weekly school committee meetings and engaged in long range planning for the school system.
Oversees all district personnel matters. Supervises teaching and learning of all students, student services and special education,
technology, communications, facilities, professional development, annual budget, grants, and evaluation of the District
Leadership Team and Executive Team. Chairperson of the District Leadership Team and Executive Team. Oversees all
procedures, maintenance of records, human resources, and curriculum for all students and staff.

Middleborough Public Schools                                                                        Middleborough, Massachusetts
Director of Pupil Personnel Services                                                                           August 2016-Present
Supervised Special Education for all students in Middleborough, ages 3-22. Managed 504 training, plans, and process for all
students in Middleborough. Supervised school nurses, Medicaid processes, and all related services. Supervised civil rights process
and training, investigations, and acted as Title IX, VI, homeless liaison, and harassment coordinator. Managed and investigated
all claims of harassment for all students and staff. Member of the District Leadership Team and Executive Team. Supervised
Special Education grants and budgeting including circuit breaker and associated audits. Acted as District Leader through the last
two DESE reviews. Coordinated professional development and assisted in Staff Strong program.

Middleborough Public Schools                                                                        Middleborough, Massachusetts
Secondary Special Education TEAM Facilitator, Grades 6-12                                                          July 2012-July 2016
Chaired all initial and three-year reevaluation TEAM meetings for grades 6-12. Supervised and evaluated special education staff
using the teacher evaluation system. Reviewed all IEPs and accompanying documentation, including evaluations of all students at
the secondary level. Conducted various trainings district wide and for special education staff on legal issues, Section 504, and
special education. Chaired all manifestation determination meetings at the secondary level. Obtained professional Special
Education Administrator license, all levels. Obtained SEI endorsement.

Nantucket High School                                                                                   Nantucket, Massachusetts
Summer School English Writing Teacher                                                                                    July 2005
Taught a high school English Writing Seminar for 9th and 10th graders during the summer. Reviewed the expository essay,
grammar, and style. Designed lesson plans, assigned and graded papers, and provided isolated practice for areas of weakness.
LEGAL EXPERIENCE
Murphy, Hesse, Toomey & Lehane LLP                                                                         Quincy, Massachusetts
Attorney                                                                                                  September 2007-July 2012
Handled all matters regarding special education for numerous districts throughout the state. Litigated complaints before the
BSEA, OCR, and DESE. Conducted workshops and trainings on legal issues, the TEAM process and procedure, student
discipline, and Section 504.

Murphy, Hesse, Toomey & Lehane LLP                                                                          Quincy, Massachusetts
Summer Associate/Law Clerk                                                                                   March 2006-May 2007
Assisted attorneys with matters related to special education law. Drafted answers to hearing requests, written briefs, and various
discovery motions. Attended pre-trial conferences and administrative hearings.

The Freeman Firm                                                                                         Newton, Massachusetts
Law Clerk                                                                                                August 2005-March 2006
Completed corporate filings for clients. Filed service mark and trade mark applications with MA and surrounding states. Drafted
wills, power of attorney, and health care proxy forms. Provided general support for a solo practitioner.
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Addendum to Resume of Carolyn J. Lyons
Middleborough Public Schools Initiatives (2016-present)

    •    MHS Superintendent’s Roundtable (2022-2023)
    •    NMS Superintendent’s Roundtable (2022-2023)
    •    DEI Task Force 2023
    •    Equity Committee (2021-2022)
    •    Wellness for You: Wellness Newsletters for Employees (2021-2022)
    •    Family Support Channel (2020-2021)
    •    Mental Health Awareness Event (partnership with SEPAC) (2020-2021)
    •    Educational Stability Review (2020-2021)
    •    Tiered Focused Monitoring (2020-2021)
    •    Coordinated Program Review (2017-2018)
    •    Civil Rights Data Collection (2021-2022 and 2016-2017)
    •    Special Education Program Evaluation (2016-present)
    •    Staff Strong- Contributor and Presenter (2016-present)
    •    Development of Special Education Behavior Department (2016-present)
    •    Mandatory Trainings Update (Summer 2020)
    •    Wilson I Training and Certification (2018-2020)
Professional Development Experience (2012-present)

    •    Special Education Process and Law (various topics)
    •    Communication with Families
    •    Behavior Management and Intervention
    •    Student Records
    •    Team Meeting Process
    •    Title IX
    •    Homeless and Foster Care
    •    Civil Rights
    •    504
    •    Diversity, Equity, and Inclusion
    •    Related Services
    •    ESP Training
    •    Parent/Caregiver Rights in the Special Education Process
    •    Student Discipline
    •    Mandated Reporting/51a
Professional Memberships

    •    Member, Board of Directors, Reads Collaborative
    •    Member, Old Colony Superintendents’ Roundtable
    •    Chairperson, Special Education Administrators (SEA), Reads Collaborative
    •    Member, Operating Committee, Pilgrim Area Collaborative
    •    Member, Massachusetts Bar Association
